                                                                                                             -.':,t    !*i    .
                                                                                                            I t|*LLr
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                                                                                              i,   :1   u;. SiATa$    Xiiiffi i Ci-:,; i
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                      i
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                                                                                                   il:iiF,fii ili:    ]fii ?!.a.{} .
     1l                   Suktdev Singh
                          In Pro Per
                                                                                                                  It
                  I
               il

     2)                   2005 De LaG\zBoulevarrd, Suite 185
                                                                                             iiiif      $i;,if;          $li 9:
                          Saua Clara, CA 95050
     3                    Telephone: (408) 988-7722                                           ti"f,iilihlilLJClll[ft Qiii
                          Facsimile: (408) 988-3345
     4

     o

     6

     7                                                          IJNITED STATES DISTRICT COI,JRT

     8                                                         FO.R   THE DISTRICT OF NEWMEXICO
     I
 10                             KRISTINA MARTINEZ, in her                            No.   CIV 19{0994 JB/JIIR
          ii
111
          ,l                    Capacity         As the         Personal
          ri
                                Representative       of the Wrongful                 NOTICE OT'MOTION AIID MOTION
L2
          il
              l
                                Death Estate              of    Barbara              TO QUASE JT'DGEMEI\TT AND TO
                                Granger, IndMdually                                  QUASE TEE ARREST WARRANT
              i



13                                                                                   AGAINST SIIKEDEV                                      SINGH,
                                           Ptaintiffs                                I}ECLARATION OT DEtrENDAIYT,
L4;                                                                                  AI{ID HIS ATTORI\TEY IN SUPPORT
                                v                                                    oF' Tm MoTION TO QUASII, AND
                                                                                     MEMORAI,{DI M Of,, POINTS AIII)
                                DART TRAI.IS,                     D.IC.,             AUTEORITTES TEEREOI'
                                GILBERT TAN dlbla cMT                               AND REQUBST TO STAY THE
                                TRUCKING, SI.'NRISE TIRE                            ARREST WARRAI\IT PENDING
                                A}ID LI.JBE SERVICE, INC.,                          MARING OF THIS MOTION.
                                IIAR-SIIKH CORP., N{C,,
      I
                                SAI\,1 SA}{D}-ru, JASVIR                            Date:
1el                             SINGH, MJINDER SINGH                                Time:
      ll                        BASSL SLTKTTDEV SINGH                               Dept.:
20i                             DHALTWAL, TERI-OAT, Lr-C,
                                JOHN DOE 1, JOHN DOE 2,
2l'r'                           GOODWILL TRUCKING,
     ll                         LLC., and GURPREET SUCII,                          Hon. Disnict Judge James O. Browning
22tl
          I
                                               Defadants
23

24

25
26                                  NOTICE IS tmREBY GIVEN that I, Srrkhdev Singh, urill move the Courr for an Order

27
                      r&!I(i.   OF   lrylIOX   TO QTASE                 Page   1
28
       I
                       (luushin!l .irrtlgrrrcrrl lgirirrst rrrc. iuttl 1rr t;uitslt lltu ilrrcsl tvitrritttl issustl ltgitittst   lttc. Ilurlhcr. lo
      !                llctlucsl lil;rv rrl'ltrc i\r'r'csl Wirrriurt u,lrilr: this nl(,li{,,r is ;rclrtlirrg.
                                                                                                                -l'ltis
                                                                                                                          tlolittlt is tttittlu on tl:c
      ;l
                       litl k:rrirrg Brrtun(ls:
      ,I
                                 I Sukltdcv Singlt, rcprcscrrling myscll. trcrchy rnr.tvc tltis ('\rurt pursuant lo Fotlcral I(ulus

                                  I)rocctlurc Rulc (r()(h)(4) l'.R. Cir,.l).. on thc gruund tlxrt jtrdgrncnt agains( nrc is vtrid'
      j--r
                      ol'('ivil
      (i              'l'lris nrotitrn is lirr thc (-ourt to cntcr an Onlcr to quash judgrttcnt ct:lcru<l on July 15.2021, nntl to

      7               quirslr tlrcsutrsct;ucut illr!.sl \\,Ar[anl Ordcrcd and cntcrcd on Jttly 27.2022ltrrC'ontcnrpl of Court

      ti              Or<lcr. ngtinsl      nrc. 'fhis juclgnrcnl           itgainst nrc   is roitl bcclusc      I rvas ncver namctl in tlrc
      I               conrpluirrt. in {hc plcatlings.         tntl   irr lh{.: suntrrrotrs. and thc complaint t{'as ncvcr scn'cd on ntu.

 10                   This by itsclf mcans that there wAs llo lawsuit against rnc. This itlso mcnns. this Court lackcd

 1l                   juristliction to issue thcso ordcrs. I have nevcr nair,ed ths issuc of pcrsonaljurisdiction cither.

 L2                   Furthcr, this Court has overstcpped its discrctionary authority by granting the Motion Ibr

                      Con'ection rvhich csscntially sencd to bring mc in as a prcviousl-y knorvn delentlant. rvtren in
 13
                      lhct I was ncver natned in the original conrplaint, in the pleadings. and in tlrc summons. and rvas
 L4
                      ncver sened with sunrrmons and complaint. This Ordcr was prcjudicial in to me hccause I could
 15
                      rto longer def'end rnyself because ol'Defhult beirrg filed in Dccenrber of 2019. Furthcr. the
 r6
                      Plairrtifti' Counscl has illegally pierccd tlte corpornte vcil rvithout complying rvith any lcgal
 trl
             I
                      requircrnents s,hfltsoever.         I   tvas a corporation      ollicer.    Corporate     vcil cannot be picrccd lor
 18
                      ncgligence, and this entire action is basccl upon negligcnce.
19
                 I
                                The ntotion u,ill be based on lhis notice of nrotion. the accornpanying nty Dcclaration.
20i
                     Dcclaration of m1'altonlcy. tltc tnentoratxlurn ol'points nnd autlroritics scn'cd and filed hereu,irfi.
2L;                  on lhc rcconls and tile herein. aurd on such cvidence as nraY be prescntccl nt the hearing ol'thc
22'                  nroiion.
23.                             Datccl: Augusl 17.2022
2rl

2it
!(;
                                                                                            Sukhdcv Singh
2i
                     lr.orron oF HOIION 10 QUASII                      i,,,(lr. :l
2tt
     1

     2                           DECLARATION OF SIJKMEV SINGH IN SUPPORT Otr'MOTION TO QUASH
     3                                         JT'DGMENT AND ARREST WARRANT

   4

   5                               I,   Sukhdev Singh, declare uuder pmalty           of perjury under the laws of the State of              I




  6                     Califomia as follows:

   71,                             I I was never named in the caption of the complaint, in the pleadings, and in the
                   I
                       suulmolts, and was nwer served. This basically means two things. I am not part of this lawsui!
  8,',
                       and this Court never got the jurisdiction in this matter. The Court also lacked personal
  9
                   I   jurisdiction over me to add me to this case and issue the judgment against me, and to issue the
 1o
           ii
           Ir          arrest warrant against me.
111
         ii                        Z    I   am educated but my education level does trot oomport to the education level here in
L2             I

                       the   US. I read the complaint in the past, and I could not figure          orrt that   I was being snred. I have
13i
                       again read the complaint now, and I still cannot figure out that it was against me.
1a       1l
                                   3. The complaint is and was against Sulhdev            Singh Dhaliwal, and served as such.            I
15.
                       believe the relevant information is in paragraph 7 on page 2, and.in paragraphsl4, 15, 16, lT, and
16j
                       18 on pages 4 and 5 of the complaint. In the past the way               I   read these paragraphs;     I   am still
,r                                                      way. Plaintiffs
       ll reading them the same                                               and their attomeys intended       to sue Sutctrdev Singh
1sl                    Dhaliwal, who is nrnning an unincorporated tnrck repair business somewhere in San Joaquin
19                     County using the dba Ameriean Tire and Truck Repair. In other words, this is how I interpreted
           I



20'i                   them back when these papers were sub-served on me as Sukhdev Singb Dhaliwal, and I am still
           I


2Ll                    interpreting them the same          way. Excep for paragraph 7, here I am eopy pasting the other
           I
      ll
221' paragraphs listed herein verbatim from the complaint for the Court to follow my thougbt p1,cess:

23                     14.       American Tlre and Tntck Repair operates out of San Joaquin Coun4t, Califtmia. A

24                     revient   of public rccords wallablefrom the Seerutary of State lndicaes that the cornp.any is not

25                     regisared

26

,r',1
                                                                   page
2r li lblrq                   OB   rfi)|tloH rO QInEA                     3
 1
             15      Sukhdev Singh Dhaliwal is listed as the owner of American Tire and Truck Repair
 2
             with the business license division of the San Joaquin Coanty, California. On information and
 3
             belief,, he is resident of San Joaquin County, State of Cah.fornia, and citizen of California.
 4           i       The problem starts from right here with these paragraphs. San Joaquin County is a big
 5           county, and without having the benefit of additional information like address etc., and witlrout
 6           anything being attached       to the complaint, this is exactly how I read this       paragraph and

 7"          understood   it: "Plaintiffs and their a        ey

 $, runnine            an unincorporated trusk repair busitress here somewhere      in Sar Joaquir   County. using
                                                        t,
 9i
         i




,01          ii      The information that Sukhdev Singh Dhaliwal is listed as owner of American and Truck

11           Repair with the business license division of the San Joaquin County is very specific. There is no

L2           way for this to be interpreted in any other way, other than that this is who Plaintiffs' and their

             attorneys' intended to sue.
     :


13

74
             16      Sunrise Tire and Lube Sen'ices, Inc. ("Sunrise Tire") is         a California   Corporation,

             incorporated in March of 2017. Sunrise Tire was the grantee in a recorded "Natice of bulk
15
             Transfer" from Har-Sukh Corp., Inc. in June of 2017 that appears related to Arnerican Tire and
16.
     I
             Truck Repair business. On information and belief, Sunrise Tire's principle place of business is
17i
     I
             San Joaquin County, Califomia.
18r
             17      Sukhdev Singh Dhaliwal is Sunrise Tire's Chief Executive       oficer, and registered agent.
L9
             On information and belief, he exercised control over, wcts an agent, or was a managing agent      of
20
             the business operating at American Tire and Truck Repair business during the times relevant to
2t           this complaint.
22
             18      Hur-Sulch Corp, Inc. is a Califomia corporation identified in public records as an entity
23           that does business as American Tire and Truck Repair at the location where the Dart Tractor
24           Trailer had repairs make on the axle and the fires that detached, causing the crash that killed
     I


25           Barbara Granger. On information and belief, the principle place of business is San Joaquin
     l




261 County, Califtrnia.

27
             lDlror otr uqtloN To Qulsg             Page     4
28
     1
                                       A    By saying that American Tire and Truck Repair do axle repaim further confirmed for
     2
                           me that      '?laintiffs     and their afforneys intended to sue Sukhdev Singh Dhaliwal, who is running a
     3
                           truck repair business that does axle repair work somewhere in San Joaquin County using the dba
  4,
                           American Tire and Truck Repair" where he is listed as owner. This is because it is a specialized
                      l


  5' work,                         done by specialists, and we are not specialists in this area of tnrck repair, and therefor€ we

  6                        don't do it.

  7l                                   B   Even the name Dart Tractor Trailer did not give me any clue because this is the only

  8,                      time we dealt with thern and that too for very limited services. They requested limited services,

  9                       and these limited senrises were therefore provided to them by the corporation, Sunrise Tire.

10                                     C By naming everyone here, it seems like Plaintiffs and their attomeys were on a
              ;




111                       fishing expedition and naming everyone who they thought could be snared into this lawsuit,

L2                        when in fact they were only after Sukhdsy $ingh Dhaliwal, who did axle repair work somewhere

13'l in                      San Joaquin Couuty as an unincorporated business and under the dba American                     Tire and
          it
   I Truck Repair.
L4 tl
          I




15.
                                   D       Can an officer of a corporation be sued for Negligence? I was explained by attomeys

                          in New Mexico, that it cannot be done. As an officer of Sunrise Tire,                 I cannot be sued for
16i                   :



                          negligence. This also confirmed for me that Plaintiffs and their affomeys were after Sul*rdev
L7j
                          Singh Dhaliwal, who ran aa unincorporated axle repair shop uuder a dba American Tire and
18
                          Truck Repair business somewhere in San Joaquin County, California.
letl
      I
                                   4. Based upon these paragraphs,           aod the rest of the complaiut   it looked like they   have
201
                          done their homework and did ihtend              to sue Sul*rdev Singh Dhatiwal because he is the listed
      l


2tl'              I       owner with the County of San Joaguin of Ameircan Tnrck and Tire Repair business, and did in
221
                          fact zue Sukhdev Singh Dhaliwal because his business was unincorporated, and were                 tying to
                  I


23i'              :
                          serve Sultfidev Singb          Dhaliwal. To me it looked like I received the paperc by mistake.
24                                 5       Further, Paragraph 34 of the Complaint again confimred this fact for me. Here is
25                        verbatim copy of paragraph 34 of the complaint:

26

27
                          Morra   OF   lD'lIIOn rO   OITASS             Page 5
281
 1
          34      Negligence in performing the work on the Dart trailer's axle created a dangerous
 2
          condition such that it only was matter of time before the wheel fasteners for the rear driver's side
 3
          axle on the    trailerfell ofi, allowing    the wheels to detachfrom the tractor trailer.

 4        A       As mentioned above, we simply don't do axle repair work, the repair of which is the
 5        cause of this accident. Hence, it has nothing to do with me.

 6                 6     Today      I   know that we did replace lug nuts for Dart Tractor Trailer. By their own

 7        facts mentioned in the complaint the lug nuts are not the cause of this accident. The cause of the

 8        accident is negligent work on the trailer's             axle. Hence, I would have still not responded to the

 I        complaint by itself even now because lug nuts is not the cause of the accident. Bad axle repair is

10        cause   of the accident, and I am not listed anywhere in the complaint.                   I   definitely needed

1L        additional information to confirm for myself that             I   am betng sued herein. See paragraph 11 for

          more details related to my defenses.
t2
13
                  7.     Sukhdev Singh is a very common name in Punjab State of               krdia. In Punjab, looking
          for Sukhdev Shgh would be like looking for a John Smith here in the US. I personally know
L4
          many Sukhdev Singhs in and around Stockton area by itself, leave alone rest of the                    US. How
15
          many Sulfidev Singhs are there in the US, I don't know but I do believe that there should a lot
16
          more of us with the same name in the            US. Suktdev $ingh Dhaliwal          makes is less uncorlmon
17
          and this also confirmed for me that they intended to sue someone named Suktrdev Singh
18
          Dhaliwal. Please allow me to explain this issue another way:
19
                  a      Every Sukhdev Singh Dhaliwal can be Sukhdev Singh, but not vice versa. In other
20
          words, every Sukhdev Singh cannot be Sukhdev Singh Dhaliwal. Dhaliwal is a last name, and
     ir
2L
          there a lots of last names in Punjab. Hence, Sukhdev Singh can be associated with any last name
22
          from Purgiab, but not Sukhdev Singh Dhaliwal. This excludes all Sukhdev Singhs who do not
23        have last name Dhaliwal, and this excludes me as              well. My   last name is not Dhaliwal.

24                b      In the US, the example would be this way. Every John Smith can potentially be                  a

25        John   A. Smith, but not vice versa. If you are looking for John A. Smith, then it excludes every
26        John Smith whose middle initial is         not'4".
27
      r Uorrm    OF   lrc|[Id[   AO QUASB              Page   5
28
     1
                                          8. It's been awhile       now, but     I do remember hearing from others that summons and
     2
                           complaint had been served on others at the wrong addresses, or to the wrong people in this case,
     3
                           since so msny people were sued. This only confirmed for me that it must have been a mistake.
     4
                                          9. I have always used Sukhdev Singtr as my name. I have never used name Sukhdev
     5                     Singh Dhaliwal either legally or personally or any other variation of this name.                    I have never
     6                    used    in any         business papers Sukhdev Singh Dhaliwat even as a pseudonyns.                   It is not a
     7                    pseudonlmrs. @mphasis added). To make it simple, since my birth to now                        I   have never used

  8                       any other name(s).

  I                                   10.   A default was entered          against Sukhdev Singh Dhaliwal on or about December 19,

10                        2019. @ocket#ll, 18, 19,20,36,& 131).ThemotiontocorrectthenamewasfiledonMay14,

111
                 l

                          2021. (Docket #112,              llt).    Court can take judicial notice of these dscuments related to this
                 l1

L2i                       issue. Since there was no indication that I was being sued in my personal capacity, I did not take

13i any steps to defend myself. Motion for Nane Corection was the first indication to me that
             l




             l


                                      I
                     i

                          mdybe           was being sued but by this time, the time          to set aside the default was long gone.    So
L4
         l               there was nothing            I could   do, even   if I wanted to.
15i
         l
         l                            11    I   actually have a rock solid defenses in this case. Therefore      I   did not need to hide
161
                         behind any procdural isnres               u this Eatt€r:
L7',
                         A            To begin witb, the police report in this case did not find fautt with the job we had done.
rsl
                         They did not find fault with Iug nuts. This by iself is a complete defense.
19
                         B        Industry practice is another defense for me. We only repair what we are told to repair.
20i
         li S/e are not allorred to check for additional defects or problems unless                            it is right   there, and we
2L'i                     saw no such problem here.
22
                         C        The DeparDnent of Transportation regulations is another complete defense for                 me. Under
23                       the law, before the start of every shift the drivers have the responsibility to iirspect the tnrck.
24                       This inspection would have found problems with the lug nuts.
25

26
             l
             :


27:
     i:
     I
                         lloaror OF   l(}ltoN    5O   QITISE                page z
28i
 1
     D         There is about 10 plus days gap between th" lug nuts replacement               job   done by us, and the
 2
     accident. This is etemity in the trucking industry. This by itself means that we are not the cause
 3
     of this accident.
 4   E         It is also both a factual, and scientific impossibility for the same reasou. It is simply
 5   illogical to say the new lug nuts would break and cause the accident as opposed to old nuts that
 6   we were not told to replace. Scientifically also the chances the new lug nuts would break and

 7   cause the accident         is an impossibility because the chances of the old nuts breaking is always
 8   higher. In any casg the cause of this accident is neglige,nce repair of axle and not lug nuts.

 I             Based upon this,         it   defies logic that   I   would not figbt the lawsuit with such strong

10   defenses. I have, and had no reason to hide.

11             12 I was not sued, never named in the pleadings, and in the summons, and never served

L2   in this case. Therefore the Court rever got personal jurisdiction on me. This is the simple issue

     in front of this Court by itself.
13
               13 I am also not the cause of any confusion either. Plahtiffs' sttonrey do admit to their
L4
     reason of confision in the moving paperc for their motion to correct mistake in default judgment.
15
     They evidently got this information from a private investigator (page 2, paru                     I   of Document
16
     #ll2),    and therefore by itself       I had nothing to do rvith    it. Nothing   was attached to &e complaint
t7
     either.   See para 3 above        for more details. Corut can take judicial notice of this fact. @ocument
18
     No.#l12, filed on May 14,2021)
19
               14 After the default had been filed and has been pe,nrling for over year and a half,
20
     naming the wrong name for Defendaut in the complaint, and serving under the wrong name on
2L
     the Defendant is not a misnomer that can be corrected by name correction motion only. This is
22
     bad faith because this essentially allows the other side to introduce a new party to the case,
23   without grving the new parly any chance to defeird itself or protect itself from the abuse. To
24   make the matters worse, Plaintiffs attomeys' never infomrs this Court that I was never sued as
25   Sukhdev Sing!, never mcntioned in the pleadings as such, and                   I   was never served as Sullhdev

26

27
     rbtrroN OE   lO:llSI   EO OUASB                 Page   8
28
      I
              Sirrglr. Srrkhtlcv Sirrgh l)hlrlirvirl rvas suctl ;rrxl sorvud. nol .Sukhdcv SingJr.   I   tvas only sub'
      2
              scrvctl.
      3

      ,,t
              Datc<l: Augusl 17.2022

      5                                                                -/'
                                                               ,' -1"Ff'''
                                                              t-'' '\-''
      6

      i                                                        Suklrdcv.Singh

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      I
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 11

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 L4

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24

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            l&1l!olr oF l.toIIoN To QUASlt
28
 1                      DECLARATION OF'ATTORNEY RA,TTAN DEV                           S.   DHALIWAL

 2          rN suPPoRT OF MOTTON TO QUASH JIIDGMENT AND ARREST WARRANT

 3

 4             I, Rattan Dev S. Dhaliwal, declare under penalty of perjury under the laws of the State of

 5   Califomia as follows:

 6   I         Itr this matter, Sulfidev Singh was never zued" his name is not in the pleadings, and iu the

     summons and he is never served. Therefore the judgment issued against Sukfidev Singh is void,
 7
     and so is the Order for arrest warrant issued agEinst Su}*rdev Si"gh.
 8

 I 2           The first issue is the jnrisdiction of the Court under these cireumstances. The second

     iszue is the issue of personal jurisdiction of this Court on Sukhdev Singh. The issue of            pmonal
10
     jurisdiction has been brought to the attention of Plaintiffs attomeys on seve,ral occasions, and
11
     via emails. To-date I have not receivd any rsponse from them in the form of an authority that
L2
     tells me that their position is correcf or in the altemative, that my position is wrong. In fact they
13
     have never responded to my direct inqury to show that Sukfidev Singh was indeed sued and
t4
     served. I have tried asking the same question in following rnanDer as well:
15
     a         In the altemate I asked them what was Sukhdar Singh's responsibility after he received
16
     the summons and complaint. Is it his responsibility to correct your mistake? Again no answer
L7
     from Plaintiff s attorneys.
18   b         I   also informed them that   I   do not have any code section, any cltq or any authority that
19   would support their position. I can assure this Court, that none was provided to me by PlaintifPs
20   attorneys-

2L   3         The proper thing for my learned opposing counsel to do was set aside the default amend

22   the complaint, add Sukfidev Singh as John Doe              l, and sene it on Sulfidev Singh. They never
23   tried to follow this simple procedure. Not even once.             Irt   me assure this Court, this was never

24   on the table and never discussed, even after           I   pointed this out to them iu at least one of my

25   emails.

26   4         The motion for narne correction was first indication to us that they are after Sukhdev

     Singh and not Sukhdev Singh Dhaliwal. Way the motion was presented to this Courq there was
27

28
     lbaror Of'lrolfl(nf   8O   otulsg            Page 10
                   l


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     1
                       I
                             nothing we could do to oppose               it   because almost 18 months had passed since the default was
     ftl
     al
                            filed      and we have        only   I   year to challenge the default under Rule       50.   Default was filed in
     ol
     dt
               I            December         of 2019, and name correction motion            was filed in May   of   20121. This on   its own is
               li
     4',, prejudicial to
                         Sul&dev Si"gh.
  6. o It is prejudicial to Sukhdev $ingh because he did have defenses to litigate this casg and
  .ll his defenses are good. (See paragraphs 5 & 11 of Suktdev Singh's declaration). But he is never
  7l                        gven a chance to present his defenses. Waiting time period between the emails, the default

  t;l                       aken, and the motion for correction filed is fatal to his defenses. He had no chance to preselrt

  9!I'                      his defenses because he oannot do aoything to file motion for relief after                    I year under the law
roi                         after the default is taken.

rr 7               I
                                        Not a single althority cited by this Court in granting the motion for correction has any

,,       ll facts similar to this case, and same is tue for all the authorities cited by Plaintiffs Attorneys' in
   l,
13ll their moving papers. By couohing the motion                                          as they did, they essentially introduced a trew

                           defendant without having              to comply with auy tegal requiremelrts for the defendant to be
,n{                                                                                                                                      sued,

                           named in pleadings, named in summons, and served.
15
                           8           Based upon these facts,          this Court had no mrthority to add his name in the case, and
16
                           compel Sukhderr Singh to pro&rce anything.                    If thqe was no authority to compel, then it      also
t7
181
      ] means that this Corut had no authority to issue arest warrant either for eootempt of Court.
      Iil g. This is also illegal  piercin* of corporation
                           illegal piercing    comoration veil. This is case of negligenee,     thi is not
                                                                                 nedisenoe. and this
rg
           I
                           a ground to go after the officer of the corporation under either New Mexico laws or under
20 tl
      Califomia laws.
2L
    I 10. This seems like a case of llrst Impresslon to me for the fotlowing reason. Therelorg
22
    i to begin with, I don't know of any oase which has facts similar to this case:
23                         a           Defendant is not sued in the complaint, and not narned in the summons. Pteading don't
24t'                       shorv he is a party to the case either.

,u    lt                   b           Equally importantly he is not senred as zuch.

,utl
27

28
                           Ulrr.rr   OF frcEfOtr   tto   QmSE                 .Page L1
 1
             c          A   default is e,ntered in December of 2019 against the defendant who is named in the
 2
             suulmons, in the complaint and in thc pleadings.
 3
             d.         Summons and Complaint are sub-served on my client. @ocument l.12).
 4           e          My client's         narne   is added more than 18 mouths after the default is taken, as a mere
 5           mistake. @ocument 1 l2).
 6:          f          Plaintiffs' attorneys are asking this Court to believe that Defendant Sukhdev SirS, knew
         :



 7l for fact that it was real$                    he who was being zued- He was just choosing not to particrpate in this
     I




 8'          lawsuit against him after knowing that he is being            usd- @ocument ll2). We know this is not a
 I           true stateme,nt.

101          These would be undisputed facts of this case.

11           g          Why did Plaintiffs' Attorneys waited for so loug to file the motion is a separate legal
             issue by itself.
L2

13
             h          To make the matter even more prejudicial to Snkhdev $ingh. The new defe,ndant is the

             officer of the corporation, but there are no allegation of wrongdoing in the complaint on the part
L4'
     :


             of this new defendant as officer of the corporation. Hence, this essentially works to bring in            a
15
             new defendant and piercing the corporate veil at the same time.
16
             i          After the default has been entered, as per Rule 60 it cannot be set aside after one year
L7
             raises aoother legal issue by              itself.   Name correction has never been granted under these
18
             circumstances.
19
             Dated: August 17,2022
20

2t
22                                                                 R^fu^ J,*, lQr-2,4
                                                                       RattanDev S. Dhaliwal
23

24
25

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27
             lbrtfi   OF l,tO:flON   !O   OUIES              Page 12
29,,
     1
                                                            MEMORANDUM OF POINTS AND AUTHORITY
                 I


   2i,
                 tl
     3,r
                 li
                 li
                                                       T.        X'ACTUAL AT{D PROCEI}IIRAL BACKGROTJI\TD
  n!i
  sl                                        The instaut matter as filed on October 24,2019. In the caption section of the complaint
                         l

  oi the name listed is that of Sultdev Sihgh Dhaliwal, and same is fi:ue oa the surmons. The
             I



  ?li pleadings are all against Sukhdev S;,rgh Dhaliwal, and I am onty sub-served. This raises the
                         I


  8ri                         iszue of me even being            sud.
         I


  g l,                                      If I am not   sued, then does the Court have any kind jruisdiction   in this matttr, is another

10
         l                    issue.
                     I




rr ;l    I
                                            A defarlt was       entered against the Sukhdev Singh Dhaliwal on    or about December      19,

L2
                 I
                             2019, The name correction motion was fled under Rule 60 in May 14,2021. This motion is
                 I


                 i
                             shifting the burden on us to prove ftat Plaintift attomeys' intended to sue me as a party, and               I
13
                             aul supposed to guess this from the summons aud complaint that do not list me. Further, upon
L4
                             the detailed review of the pleadings, do not name me inside the complaint either. Undertte law
15
                             this is Plaintiffs burden to sue and serrre the right party and not my burden to correct their
16
                             mistake.
L7

18
                                                                       II.      LEGALARGI]MENTS
19

20t'
2L

 zzi'i pEcAUS4"
                                                9H. ABSENSE O['         JI]RISDICTION:
,rll
24                                      I have uever besr sued and sc,l:ned; and I am not named in pleadings either. Hence, this is
25                           where the analysis of this case should startbecause summons and complaint were never dirccted

26                           towards me. In the complaiut Sukhdev Singh Dhaliwal as owner of anunincorporatd business

t'
27   trl
                             llorrfl   oE   l{xrlo!{ Iro Qmsa                Page 13
28 il
             was sued but not me. My attomey and I have not been able to find any code section, any cite, or
 2'l any other authority that would allow this case to even begin, leave alone for this Court to glve
         i


 3ll         judgment in favor of Plaintiffs' aod against me, and issue arrest warrant against me tmder these
     {:
 a:
 4"          circrrmstaoces. Therefore rmder Rule 60, this judgment is void because                       I   am not named in
 5,          surlmons, complaint and the pleadings.

 6:                    Under RuIe 4 of Fderal Rule of Civil Procedures, stunmons must be directed to the
     i


 7t          defendant Under Rule 4 this is not         a fatal mistake but    Plaintiffs' and their atrorney took no steps

 8           to cure the fault. This on the &ce 6f it is prejudicial to me. I am not narned in the complaint in

 I           the summons, and        I   am not named in the pleading either. Again        I   and my attomey have not been

10           able to find one case that would address these circumstancc.

11                     In any case, here the issue is four fold. I am Dot named in complaint or the sutrrmons, or

             the pleadings filed in this case, aud I was never served as Sukhdev Singh. Hence, even Rule 4 is
t2
             inapplicable.
13
                       Rule 60 Motion to correct mistake was filed by the Plaintiffs' and their attorneln more
14,
     I
             than 18 months after the default had been entered. Under Rule 60 I had only 1 year to move to
15l
     l
     I
             the Court to set aside the default. Based upon my reading of this nrle, uoless there was fraud
16
             involved,     I   cannot do anythiog after one year.      I   have not been able to reach the conclusion         if
L7
             fraud was involved but it was definitely prejudicial to me.                 It was granted when I could not
18
             challe,nge    it   under Rule 60, because    I cannot file a motion         for relief after one year. This is
19
             separate legal issue        by itself. I have found   cases where thesc motions were          file4 but   none that
2A
             came even close to the circrrmstances         of this case. As far     as   I know, this    case and the facts   of
2L
             this case are unique and they have never been litigated ever.
22                                                                                                      new defendant into the
                       This essentially allowed Plaintiffs and their counsel to introduce           a

23           case   without having to comply wift any kind of laws, This is not an enor, oversighg or omission
24           kind of   a   mistake when you wait more tlan 18 months to file this motion for correction. It is an
25           egregious error becausc:

26

27
             l&mor oE l,PltIOl{   BO 9SASA               PaEe 14
28
     1
                      I
                                      A   defendant is not named in the complainq in the summons, in the pleadings and the
     I'
                           defendant is not served because the surnmons are not directed towards him, and the provisions                        of
     q
  tJ
                           introducing Doe Defendant is not followed but a new defendant is intoduced into the picture
  4t                       a&er about 18 months. Again there is no precedent that we know of given the circrlmstances
                  I
                                                                                                                                                of
                           this case.
  6                                   This motion was in bad faith because                 it   esseutially intoduced a new defendant to the
  7li                      case, who was        in no position to defend myself. The motion is drafted as error, oversight, or
  8                        omi.csion on Plaintiffs' attomey's part and therefore as per the motion                  it is related to the default
  I                       judgment. This by itself is a violation of the basic tenants of the adversarial s]6tem we have here

10                        because this gave me absolutely no chance to defend                      myself. In otha words, this is violation of
                          Constitutional Due Process clause as well. Again there is no precedent to this as well.
"ii
,,                                   To make the matters worse, Plaintiffs attorney do admit that they made a mistake but

                          couched it as a misnomer, or as they put
                      I


13            rr
                                                                                 it    as a "pseudonyms".    Allowing the name change upon
                          the facts of this particular case is abuse of discretion by this Court. I had no part to play in this
14:
              :

                          confusion. Again            I   and my attomeys have not been able             to find a single authority where the
15
                          Court has the discretion to grant such a motion based upon the admittance of the plaintiffs
16
                          attorney they made a mistake in naming the correct defendant in the case after more than 18
L7
          I
                          months had elapsed between the default and the motion to correct. We could not find any
181
                          authority that would address this situation.
L9
                                     Plaintiffs Attonieys' are taking tbe position that since I was served as Sulfidev Singh
20.
                          Dhaliwal, that means             I   knew about the case and hence should have litigated              it.   They have
21]
      I
                          offered no authority for their position that is based upon the facts that are similar to this case.
221
      I
                                     Further, they are not willing to admit that they made a mistake but they are asserting that
      I


231
                          I should have taken the           steps to defend    myself. They have not given any facts based upon which
24                        I would know of the facts             that   I am being sued. This is separate      legal issue by   itself. If I could
25                        figure out that I     ane   being zued, than all I had to do was file demurrer or motion to strike because

26                        really there are no facts in the complaint that support auy wrong doing on my part.

27
                          llorro   OF llgTIOt{ TO QIIISE                    Paq,e 15
28r
 1
                    Plaintiffs and their attomeys are asking me to have read their mind and guessed it
 2
         correctly that I was being sued. This has no legal precedent by itself.
 3
                    Through my attomey,          I   asked them to show me the law under which              I was supposed to
 4       correct their mistakes. In other words,                  I   go to them and tell them that   it was really me you   af,e

 5l      after and hence correct the pleadings even though                     I cannot figure out from the pleadings that they
     l

     I


 6: filed that it was me who                they were after. I and my attorney have not found a single authority             for
 7'      this assertion either.

 8l                 But this argument has to be premised on the fact that I understood that I was being sued,

 I       and   I   am under oath saying that             I   had no idea   I   was being zued- Hence, their position by   itself

10       does not make sense.

t1                  This line of argument also illegally shiffs the burden of proof on me. They need to prove

L2       that I was zued, named in summons, named in the pleadingp, and served. They have nothing to

13
         show this. Why is it that I have to prove that                    I   was not sred and served? Agarn, we have not

         been able to find a single authority for this issue either.
L4
                    In fact, there was no        case that addressed the basic issue            of complaint and service by
15
         itself. Maybe we were unable to find one. This night very well be the first                       case where a party
16
         was never sued and served, but              a   judgment has been entered against that party.
L7
                    Piercing the Corporate Veil is a separate and distinct issue. Uuder New Mexico laws a
18
         corporation      will ordinarily be treated as a legal entity separate from its shareholders, &d
19
         individual shareholders cannot be held personally liable for the corporation's debt. Under certain
20
         circumstances, however, courts may exercise their equitable powers to pierce the corporate veil
2L
         and require shareholders to nnswer for the corporation's liability. To pierce the corporate veil, the
22
         district court must find that the corporation was opcrated in a fashion not to serve the valid goals
2B       and purposes       of that     corporation but instead under the domination and control and                   for   the
24       purposes of some dominant party, that there is some form of moral culpability attributable to the

26       shareholder such as use of the corporation to perpeilrate a faud and that there is some reasonable

26       relationship between               the rnjury suffered by the plaintiff and the actions                       of the
27
         Irorrd    OE UCITION $O   OUlsII                     Page 16
28
      rlclutrdatrl. i/rtrl1,r,t't't, r'. Kustelrou'ir.':,2016-NMC'A-(ill. 'l'hc judgmclrl against mc,is
                                                                                                        lrgairrsl       a

      cr)llorilltr olJiccr, 'l'lrcrc is lxt shou,ittg lhul hc pcrpr.:lralul liautl on thc lrlainriffis'. a1d lfufltrcr,

      tlrcy dtllt'( shurv llurt tJtct'o is {irly reilson.rbls rslutiolr.ship bctlccn lhc in-jury sufli.rctl hy     thr:

     pllintill'nml thc actions of thc dcrfcndant.



                                                III.         CONCI,USION



               This motion should be grantcd bccause this Court neyer had pcr$oflal jurisdicri6n on mc

     in this oatter. I rvas prcju-dice<l xhcy filcd motion for correetion more than I8 rnonths after rhc

     entry of dcfauh. Court over stepped it discretion because this essentially admirted
                                                                                         ncg, dcfendant
     into the case in violation of being rlamod irr ths lawsuit and scrved as such. There are                      no
     allegations against me that woultl allotv the corpgratc veil to be pierced. Theretirrc ihe judgmcnt

     is void, and any orders that follow the void judgment are also void.

               Dated: August l?,2022




                                                             .Z
                                                              Sukhdev Singh




l{    ro!. OP tilo8fol{ ltlo OUAgfl           p.lrr;.: 1'l
                                                 PROOF OF SERVICE
     1


 2
                   I, Kubra Hussain, declare that I am a resident of the State of Californiq am over the age
          of eighteen years, and not a party to the within action. I am employed in the County of Santa
 3        Clarq State of California. My address is 2005 De La C\uz Blvd., Suite I85, Santa Clara, CA
          95050.
 4
                       On the date set forth below,   I   caused to be served tnre and correct copies of:


 6               Notice of Motion and Motion to Quash Judgmeat and to Quash the Arrest Warrant
         Against Sukhdev Singh.
 7

 8                 CX)       (BY U.S. MAIL) - by placing zuch copy in a sealed envelope postage thereon
                   fully prepaid, in the Uxitcd States Postal Seryice for colleotion and mailing this day in
 9                 accordanoe with ordinary business practices.
10                 (    )   (HAND DELI\IERY-CCP $$1011, 2015.5) byhand delivery ofzuch copies on
                            the parties indicated.
11
                   ()       (FACSIMILE - CCP $$ 1013, 2015.5) by eonsiening copies to a facsimile
12                          operator for transmittal on this datc to the parties indicated.

13                 o        (EMAIL -- CCP $$ 1010.6, 1013,2015.5) by elechonic tansmissior of srch
                            copies on this date to the parties indicatod.
14                 ()       (OVERMGHT COIJRIER               - CCP gg 1013(o),2015.5) by consigning suoh c<
                            on this date to a Federal Express loCation for delivery io iihe parties   iiaic*ed.
15

16
                    I   caused the above docunpnts to be served on the followiug persons:


t7                                           MarkTBaker
                                     Peif€r, Hanson, Mullins       & Baker, PA
18
                    P.O Box 25245                                 20 First Plaza Cn. NW, Suite 725
19
                    Albuguerque,NM 87125                          Albrrquerque, NM 87102
20

2t
                    I am readily familiar with the practices for processirry of documents for service
x2
         according to the instructions indicated above. I declare under p€nalty ofpe:jury uader the laws
23
         of the State of California that the foregoing is tnre and correct.
u
                    Execlted at Santa Ctara, California on August l7
25

26

21

28
                                                      PR(X)FOFSERVICE
    Attorney or Porty without Attorney:                                                                               For Court Use Only
    H. Vern Payne, Esq. (SBN 2043)
    SINGLETON SCHREIBER, LLP
    643 Highway314 NW
    Los Lunas, NM 87031
        Telephone      No:   (91 6)   775-5894
            Attorney   For   PLAINTIFFS                               W       et at v. PNMRT, et at.
                                                                      leyte
    lnsert name of Court, ond Judicial District ond Bronch Coutt:
    STATE OF NEW MEXTCO COUNTY OF BERNALTLLO SECONDJUDTCTAL DTSTRTCT COURT

     Plaintiff DENNIS R. PYLE, an individual,et al.
    Defendont: PNM RESOURCES lNC,, a New Mexico domestic profit corporation, et al,

                PROOF OF SERVICE                     Heoring Dote:             Time:       Dept/Diw         Case Numben
                                                                                                            D-202-CV-2022-04363


1   .   At the time of service lwos at least 18 yeqrs of oge and not o porty to this aaion.

2.      I SCrvCd COPICS Of        thc SUMMONS; ORIGINAL COMPLAINT TO RECOVER DAMAGES; COURT.ANNEXED ARBITRATION
        CERTIFICATION


3. o.           Porty   served:       TREES, lNC., a Delaware   foreign profit corporation
   b.           Person   served:      Judy Romero, Registered Agent, Authorized to accept

4.      Address where the porty was          served: 206   S   Coronado Ave, Espanola, NM 87532

5,      I   served the party:
        a. by personalservice. I personally delivered the documents listed in item 2 to the party or person authorized to receive
        process for the party (1 ) on: Tue, Aug 1 6 2022 (2) at 01 :29 PM

6.      Person Who Serued Popers:
        a. Kristina     Rodriguez                                      d.The Feefor Service      wos:   $124.85
        b.   c/o   FIRST LEGAL
             530 B Street, Suite 1050
             SAN DIEGO, CA 92101
        c. (61 9) 231-9111




7.      I declore under penalty of perjury under the lows of the United Stotes oI Americo thot the Ioregoing is true and correct.




                                                                                             (Date)                        (Signoture)




                                                                          PROOF OF                                                               7s1 2396

                                                                              SERVICE                                                      (1   s0s1 sji)
